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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                        CRIMINAL NUMBER:
              v.
                                                        1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


                           PROPOSED SHOW CAUSE ORDER

       With the Court having considered Defendant Concord Management and Consulting

LLC’s Motion for Show Cause Order, and any opposition thereto, it is hereby

       ORDERED that the motion is GRANTED. The Court will issue an order pursuant to

Federal Rule of Criminal Procedure 42(a).



Date: ______________________                      _________________________________
                                                  DABNEY L. FRIEDRICH
                                                  United States District Judge




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